Case 6:24-cv-00013-H           Document 30          Filed 06/12/25     Page 1 of 4       PageID 271


                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                SAN ANGELO DIVISION


 ISIDRO MIGUEL DELACRUZ,                            Case No. 6:24-cv-00013-H
      Petitioner,
                                                    U.S. District Judge James Wesley Hendrix
     v.

 ERIC GUERRERO, Director,
 Texas Department of
 Criminal Justice,
 Correctional Institutions Division,
        Respondent.


    MOTION TO SUSPEND DEADLINES AND STAY PROCEEDINGS PENDING
                             APPEAL


          Petitioner Isidro Miguel Delacruz respectfully requests that this Court suspend the current

deadlines and stay proceedings in this matter pending resolution of the Director’s interlocutory appeal.

The Director takes no position as to this motion.

          On June 6, 2025, this Court granted Mr. Delacruz’s motion to be free from hand restraints

during his expert neuropsychological evaluation. ECF No. 22. On June 8, 2025, the Director filed an

Opposed Motion For A Stay Pending Resolution of Appellate Proceedings because he believed this

Court lacked jurisdiction to issue that order. ECF No. 24. The Director also filed a Notice of

Interlocutory Appeal. ECF No. 23. This Court denied the Director’s motion on June 9, 2025,

determining that it had both the jurisdiction and the authority to order Mr. Delacruz unhandcuffed

during his expert evaluation. ECF No. 27. That same day, the Director filed an Opposed Urgent

Motion To Stay District Court Proceedings Pending Appeal in the United States Court of Appeals for

the Fifth Circuit. Delacruz v. Guerrero, No. 25-70011 (5th Cir. June 9, 2025), ECF No. 13-1. The Fifth
Case 6:24-cv-00013-H           Document 30         Filed 06/12/25       Page 2 of 4       PageID 272


Circuit granted the Director’s motion and issued a docket entry indicating that it granted the Director’s

motion to stay district court proceedings. Delacruz v. Guerrero, No. 25-70011 (5th Cir. June 9, 2025),

ECF No. 33. The Director then filed an Advisory in this Court on June 10, 2025, notifying this Court

that “the Fifth Circuit granted the Director’s urgent motion and stayed execution of this Court’s

Order, ECF No. 22, signed on June 6, 2025, and these district court proceedings pending appeal.”

ECF No. 28.

        In light of these developments, Mr. Delacruz respectfully requests that this Court enter an

order suspending the pending deadlines and staying all proceedings in this Court pending the Fifth

Circuit’s resolution of the Director’s interlocutory appeal. The Supreme Court has made clear that

“district courts have the inherent authority to manage their dockets and courtrooms with a view

toward the efficient and expedient resolution of cases.” Dietz v. Bouldin, 579 U.S. 40, 47 (2016) (citing

Landis v. North American Co., 229 U.S. 248, 254 (1936)). This authority includes the inherent power to

stay proceedings pending resolution of parallel actions in other courts. See Landis, 229 U.S. at 254.

Pursuant to this inherent authority, district courts routinely stay district court proceedings upon

commencement of appellate proceedings occurring prior to judgment being entered in order to

conserve judicial resources. See, e.g., Order, Ayestas v. Lumpkin, No. 4:09-cv-02999 (S.D. Tex. May 10,

2023), ECF No. 140; Order, Johnson v. Lumpkin, No. 4:19-cv-03047 (S.D. Tex. Jan. 11, 2023), ECF

No. 84; Order Administratively Closing Case, Tracy v. Director, No. 5:20-cv-00156-MJT (E.D. Tex. July

12, 2022), ECF No. 37. To conserve judicial resources and reduce the risk of overlapping parallel

proceedings, suspending current deadlines and staying these proceedings is appropriate under the

circumstances.
Case 6:24-cv-00013-H        Document 30       Filed 06/12/25         Page 3 of 4   PageID 273


                                       CONCLUSION

       For the foregoing reasons, Mr. Delacruz respectfully requests that this Court suspend the

current deadlines and stay the proceedings in this matter pending resolution of the Director’s

interlocutory appeal.

       Respectfully submitted,

       DATED: June 12, 2025

                                                JASON D. HAWKINS
                                                Federal Public Defender

                                                /s/ Kathryn Wood Hutchinson
                                                Kathryn Wood Hutchinson (TX 24078707)
                                                Assistant Federal Public Defender

                                                Office of the Federal Public Defender
                                                Northern District of Texas
                                                525 S. Griffin St., Ste. 629
                                                Dallas, TX 75202
                                                214-767-2746
                                                214-767-2886 (fax)
                                                katy_hutchinson@fd.org

                                                Counsel for Petitioner
Case 6:24-cv-00013-H           Document 30         Filed 06/12/25         Page 4 of 4    PageID 274


                               CERTIFICATE OF CONFERENCE

        Kathryn Wood Hutchinson, lead counsel for Mr. Delacruz, conferred with opposing counsel,

Katie Abell of the Texas Office of the Attorney General on June 11, 2025, via email. Ms. Abell stated

that her office will take no position as to this motion.

                                                           /s/ Kathryn Wood Hutchinson
                                                           Counsel for Petitioner


                                   CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing motion has been filed in and

served by CM/ECF upon counsel for Respondent on June 12, 2025:

        Katie Abell
        Habeas Corpus Division
        Office of the Attorney General
        P.O. Box 12548
        Capitol Station
        Austin, TX 78711

                                                           /s/ Kathryn Wood Hutchinson
                                                           Counsel for Petitioner
